   DR. HENRY LEE                                     JOB NO. 221065
   MARCH 01, 2022

·1· ·something without the fact.· And also warned them I
·2· ·reserve the right for suiting for defamation.
·3· · · · · · · · ·MR. LEBOWITZ:· We'll call for
·4· · · · · · ·production of those messages as well.
·5· · · · · ·Q· · ·Other than emails you sent to news
·6· ·editors, are there any other texts or emails that
·7· ·you've sent or received with anyone other than
·8· ·lawyers in the last five years about this case?
·9· · · · · ·A· · ·I don't remember.
10· · · · · ·Q· · ·What is your current age?
11· · · · · ·A· · ·84.
12· · · · · ·Q· · ·And you have a Ph.D. in biochemistry
13· ·from NYU; is that right?
14· · · · · ·A· · ·Yes.
15· · · · · ·Q· · ·And you -- that degree was conferred
16· ·in 1975; is that right?
17· · · · · ·A· · ·Yes.
18· · · · · ·Q· · ·Okay.· And you became director of the
19· ·Connecticut State Forensic Laboratory in 1978; is
20· ·that correct?
21· · · · · ·A· · ·About that time.
22· · · · · ·Q· · ·How did that come about that you got
23· ·that job?
24· · · · · ·A· · ·In 1975-'76 they asked me to be their
25· ·chief consultant helping them to develop a

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·1· · · · · · · · ·You can answer, Doctor.
·2· · · · · ·A· · ·Okay.· Different request.· They
·3· ·request we take in the car as evidence.· I look at
·4· ·the car.· I don't -- no way can put the car in my
·5· ·laboratory.· So we went to the scene to make
·6· ·assessment and take the car apart.
·7· · · · · ·Q· · ·So --
·8· · · · · ·A· · ·Got it?· Or no?
·9· · · · · ·Q· · ·What does that have to do with why
10· ·there are two different reports?
11· · · · · ·A· · ·Because we did the crime scene report,
12· ·we examined the car.· They ask us to give a report,
13· ·maybe want a search warrant or some legal -- I'm not
14· ·in charge the case.· I'm not the lawyer.· So they
15· ·need something to take the car apart.
16· · · · · · · · ·MR. LEBOWITZ:· Let's take a
17· · · · · · ·five-minute break.
18· · · · · · · · ·THE VIDEOGRAPHER:· We are going off
19· · · · · · ·the record.· The time is 11:42 a.m.
20· · · · · · · · · ·(Whereupon, a recess was taken
21· · · · · · ·between 11:42 and 11:56 a.m.)
22· · · · · · · · ·THE VIDEOGRAPHER:· We are back on the
23· · · · · · ·record.· The time is 11:56 a.m.
24· ·BY MR. LEBOWITZ:
25· · · · · ·Q· · ·Dr. Lee, do you recall working on the

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·1· ·Everett Carr murder case in New Milford starting in
·2· ·1985?
·3· · · · · ·A· · ·Yes.
·4· · · · · ·Q· · ·And did part of your work on that case
·5· ·involve analyzing items of evidence from the crime
·6· ·scene?
·7· · · · · ·A· · ·I was called to the scene to assist to
·8· ·do some chemical tests and reconstruction.
·9· · · · · · · · · ·(12/11/85 evidence receipt, Bates
10· · · · · · ·Nos. SAO 033273 and 274, was marked as
11· · · · · · ·Plaintiffs' Exhibit No. 141 for
12· · · · · · ·identification, as of this date.)
13· ·BY MR. LEBOWITZ:
14· · · · · ·Q· · ·I'm going to show you what we've
15· ·marked as Plaintiffs' Exhibit 141.
16· · · · · · · · ·MR. LEBOWITZ:· And for the record,
17· · · · · · ·this is a two-page document with the Bates
18· · · · · · ·range SAO 033273 and 274.
19· ·BY MR. LEBOWITZ:
20· · · · · ·Q· · ·Dr. Lee, this is another evidence
21· ·receipt, the form that you designed, right?
22· · · · · ·A· · ·Yes.
23· · · · · ·Q· · ·And it's dated December 11, 1985?
24· · · · · ·A· · ·Yes.
25· · · · · ·Q· · ·And since I imagine you, at least

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